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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ALEJANDRO M. CERNA, GARY VENTURELLI,)
and CHRISTOPHER S. WALCZAK,               )                 JURY DEMANDED
                                          )
           Plaintiffs,                    )                 Case No.
                                          )
           v.                             )
                                          )
CITY OF CHICAGO, a Municipal Corporation, )
                                          )
           Defendant.                     )
                                          )

                                          COMPLAINT

       NOW COME the Plaintiffs, ALEJANDRO M. CERNA, GARY VENTURELLI, and

CHRISTOPHER WALCZAK (hereinafter referred to as “Paramedics”) by and through their

attorney, Jac A. Cotiguala, and bring this action on behalf of themselves to recover from

Defendant unpaid overtime compensation, liquidated damages, attorney’s fees, and costs

pursuant to the Fair Labor Standards Act of 1938, as amended, 29 U.S.C. §216(b) (hereinafter

“FLSA”).

       1.      Jurisdiction over Paramedics’ claims is conferred on this Court pursuant to 29

U.S.C. § 216, 28 U.S.C. § 1331 and § 1337.

       2.      Venue is proper pursuant to 29 U.S.C. § 1391 as Defendant, City of Chicago

(“City”), has its principal place of business and the events giving rise to the claims occurred

within the geographic jurisdiction of this Court.
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                                        Count I – FLSA

       Plaintiffs complain against Defendant as follows:

       3.      At all relevant times, the City has been a public agency, an employer, and an

enterprise “engaged in commerce” as defined by Sections 3(d), (r) (s) and (x) of the Fair Labor

Standards Act, 29 U.S.C §203.

       4.      At all relevant times, Paramedics were “employees” of the City as defined by

Section 3(e) of the FLSA. 29 U.S.C. §203(e).

       5.      At all relevant times, the City employed plaintiffs as dual role paramedics,

however, each was assigned to perform shifts as single role paramedics within the Fire

Department’s Bureau of Emergency Medical Services, all in Chicago, Illinois.

       6.      Single role Paramedics’ job duties and terms and conditions of employment, do

not exempt Paramedics from the overtime and minimum wage requirements of the FLSA.

       7       By virtue of their assignment to a single role paramedic’s position, they were

entitled to overtime pay for hours worked in excess of 40 that week.

       8.      The City pays Paramedics an annual salary for their regularly scheduled shifts but

does not pay them an additional overtime payment of .50 times their regular rate for work

performed beyond 40 hours in weeks in which they were assigned single role paramedics

position for one or more shifts.

       9.      Between January 1, 2015 and the present, Paramedics were not paid their wages

at the appropriate rate for all hours worked in excess of 40 during certain work weeks in which

he worked a shift as a single role paramedic, in violation of the maximum hours provisions of the

FLSA, to wit, 29 U.S.C. 207.




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        WHEREFORE, Paramedics pray that this Court enter judgment in Paramedics’ favor and

against the City, and that the City pay to Paramedics:

        a.      The full amount of wages due for all hours worked, and an equal amount in

                liquidated damages plus prejudgment interest as far back as a non-willful

                violation of the FLSA allows;

        b.      Reasonable attorneys’ fees and costs; and

        c.      All other relief that this Court deems necessary and just.

                                  Count II – FLSA – WILLFUL

        Paramedics on behalf of themselves, re-allege and restate paragraphs 1-9 above as if fully

et forth therein.

        10.     Between January 1, 2014 and the present, Paramedics were not paid their wages

at the appropriate rate for all hours worked in excess of 40 during certain work weeks in which

each worked a single role paramedic shift, in violation of the maximum hours provisions of the

FLSA, to wit, 29 U.S.C. 207.

        11.     At all times relevant hereto the City either knew or in reckless disregard should

have known that Paramedics performed duties for which they were not paid overtime, in

accordance with the FLSA.

        12.     The City knew or in reckless disregard should have known that Paramedics were

entitled to overtime compensation under the FLSA.

        13.     The City knew or in reckless disregard should have known that it violated and

continues to violate federal law by paying Paramedics less than required by the FLSA for

overtime worked.




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       14.     The City previously resolved FLSA lawsuits on behalf of paramedics, Alex v. City

of Chicago, 29 F.3d 1235 (7th Cir., 1994); Alvarez, et al. v. City of Chicago, 6 cv 4639,

Caraballo; et al. v. City of Chicago, 7 cv 2807, Baley, et al. v. City of Chicago, 9 cv 228; and

Canby, et al. v. City of Chicago, 12 cv 669. As a result of that lawsuit, the City was well aware

that the overtime provision of the FLSA applies to Paramedics and that it should make its pay

conform with the requirements of the FLSA.

       15.     The City willfully violated the FLSA by failing to pay the appropriate rate for all

hours worked over 40 in a week to Paramedics in weeks that they worked one or more single role

paramedic shifts as required. 29 U.S.C. §201 et.seq.



       WHEREFORE, Paramedics pray that this Court enter judgment in their favor and against

the City, and that the City pay Paramedics:

       a.      The full amount of wages due for all hours worked, and an equal amount in

               liquidated damages plus prejudgment interest for as far back as a willful violation

               of the FLSA allows;

       b.      Reasonable attorneys’ fees and costs; and

       c.      All other relief that this Court deems necessary and just.

Dated: April 11, 2017                                  Respectfully submitted,


                                              By:      /s/ Jac A. Cotiguala
                                                       Attorney for Paramedics

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